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              Exhibit C
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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    HORACE CLAIBORNE, et al.,

                         Plaintiffs,

                  vs.                            Civil Action No. 18-1698

    FEDEX GROUND PACKAGE SYSTEM,
    INC.,

                         Defendant.

                                      -----

      Transcript of Telephone Status Conference held on
    Wednesday, December 15, 2021, before Honorable Robert J.
    Colville, United States District Judge.

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   APPEARANCES:

    For the Plaintiff:         Lichten & Liss-Riordan
                               by Shannon Liss-Riordan, Esq., and
                               Michelle Cassoria, Esq., and
                               Zachary L. Rubin, Esq., and
                               Michelle Tolodziecki, Esq.


    For the Defendant:         Wheeler Trigg O'Donnell LLP
                               by Jessica Goneau Scott, Esq., and
                               Davis Schaller, Esq.
                                       and
                               Joseph P. McHugh, Esq., and
                               Shanicka L. Kennedy, Esq.


    Court Reporter:            Noreen A. Re, RMR, CRR
                               700 Grant Street
                               Suite 5300
                               Pittsburgh, PA 15219

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      Proceedings recorded by mechanical stenography;
 transcript produced by computer-aided transcription.
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                                                                               18


 1               Is there anything in particular -- I'm aware we have

 2    pending motions, and I will take a particular look at the

 3    pending motions and state law claims.          Are there any other

 4    particular issues you need the Court to look at right now?

 5               I know things will be happening shortly once we hit

 6    some deadlines and either successfully meet them or do not.

 7    That may just prompt another round of motions.

 8               Is there anything you need from us right now or that

 9    we can do productively in the near term future to help move

10    things along?

11               MS. LISS-RIORDAN:     Your Honor, this is Shannon

12    Liss-Riordan, if I can just comment briefly.             I don't think

13    there is anything we need from Your Honor right now.              I think

14    this is just a useful conversation to have these periodic

15    check-ins with you.

16               On the questionnaires, my understanding of it is that

17    the reason for or a reason for so many to be ordered is we

18    know -- I mean, we've always known that we're not going to be

19    able to get responses from all of our clients.             As I said, our

20    attorneys and staff are working very diligently to get as many

21    answers as we can and get as many complete answers as we can.

22               And at some point there will have to be a decision

23    made about what happens.       There are these additional tranche

24    coming through the 1150.       So I'm sure if we keep working on

25    this, we should be able to get to 500 responses.             I don't
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                                                                                 19


 1    think we're ever going to get to, say, 1650 complete

 2    responses.     That would probably take years.            And I think at a

 3    certain point it becomes not very helpful to developing more

 4    of a record that both sides need.

 5               I mean, I just can offer up that if FedEx thinks that

 6    there has been skewed results from the people who have

 7    responded versus not responded -- this is just an idea.

 8    Obviously, they can do what they want to do.              They could try

 9    to depose the people who haven't responded or haven't

10    responded fully.        And we could make full efforts to try to get

11    them to sit for deposition, even if FedEx doesn't have all of

12    their documents, and see whether their answers are much

13    different from those who were more responsive with documents.

14    It's just a thought.

15               Of course, there is a question about whether we can

16    get those folks to sit for deposition, but we'll try, as FedEx

17    asked us to.

18               On the remote versus in-person deposition issue, it's

19    sounding, unfortunately, that this might be headed toward a

20    motion that you're going to have to decide.               I'll just say

21    that FedEx's counsel is not appreciating the fact that there

22    are not just clients involved here, but there are lawyers who

23    would have to go to an airport, get on a plane and travel in

24    order to attend an in-person deposition.

25               We have clients who may have concerns, but I have a
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                                                                                   25


 1    because of the new additions that they made.

 2               That's what Your Honor ruled for us to get in

 3    discovery in order to litigate final certification in the

 4    case.    And it doesn't seem to me to be a proper response to

 5    say, "Well, FedEx Ground, keep issuing alternates, alternates,

 6    alternates, and spending all this time and money and delay for

 7    months and months and months issuing hundreds of different

 8    alternates after you've already spent all this time on the

 9    1650 with this now statement that we're never going to get

10    what's been ordered that we're entitled to.

11               MS. LISS-RIORDAN:       Your Honor, my I respond?            This is

12    Shannon Liss-Riordan.

13               THE COURT:      Yes.   Of course.

14               MS. LISS-RIORDAN:       What I meant by this is that when

15    we said that June 2022 was a reasonable deadline, we're going

16    to know by June 2022 what responses we can get out of these

17    additional 1150.        We're doing everything we can to get

18    responses from and get complete responses from as many as we

19    can.

20               All I meant was by that date we'll have gotten what

21    we can get.     And the others that aren't going to respond,

22    they're just not going to respond.          So that's why we didn't

23    need more time to work through those questionnaires.               What I

24    was meaning when I said this would take years is it would take

25    years -- we know from doing this and we know from the
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                                                                                  26


 1    responses we've gotten from the first 500 is that we're not

 2    going to get 100 percent.       We've always known we're not going

 3    to get 100 percent.      It looks like we're running at about

 4    40 percent.

 5               I anticipate we are going to have some percentage of

 6    the 1150 who are responsive.       I'm guessing it's probably going

 7    to be around the same 40 percent, because that's just how

 8    things seem to work.      Once you start seeing what a response

 9    rate percentage is, that's pretty much the rate.             Who knows?

10    Maybe we can get more this time around.

11               But my point was only that I had understood that part

12    of Your Honor's reasoning in setting these numbers is that

13    this would lead FedEx to get responses from a fulsome amount

14    of the opt-in collective.

15               I didn't understand the order to be that we're going

16    to keep doing discovery until plaintiffs have produced a full

17    1650 responses, because that I do think would take years.                  And

18    for reasons we argued to you before and we're not going to

19    reargue now, we don't think that's necessary for FedEx to be

20    able to defend itself in the case.

21               But, anyway, I just wanted to explain what I meant by

22    that.    So I'm sure we'll have further discussion with you

23    about what to do when we get to that point.

24               THE COURT:    I appreciate the response.         Let me make

25    an observation.     And I understand what you're saying.               I guess
